






No. 04-99-00450-CV


Sarah SALAZAR,

Appellant 


v.


NATCO, INC., d/b/a Giorgio's of S.A.

Appellee


From the 57th Judicial District Court, Bexar County, Texas

Trial Court No. 98-CI-15457

Honorable Henry Schuble, Judge Presiding


Opinion by:	Tom Rickhoff, Justice

Concurring opinion by: Alma L. López, Justice

												

Sitting:	Tom Rickhoff, Justice

		Alma L. López, Justice

		Paul W. Green, Justice


Delivered and Filed:	June 13, 2001


REVERSED AND REMANDED



	Appellant, Sarah Salazar, appeals from a summary judgment rendered in favor of appellee,
NATCO, Inc. d/b/a Giorgio's of S.A. ("Giorgio's").  In this appeal, we are asked to determine
whether Texas Civil Practice and Remedies Code section 86.002 bars Salazar's Dram Shop Act
claims against her employer, Giorgio's, because Salazar was convicted of a misdemeanor.  Finding
that her claims are not barred, we reverse the summary judgment.


BACKGROUND

	Salazar worked as a dancer at Giorgio's, a club in San Antonio.  On April 21, 1998, she
worked the 7:00 p.m. to 2:00 a.m. shift and, during that time, consumed enough alcohol to become
intoxicated.  Dancers at Giorgio's were encouraged, but not required, to drink with customers.
Driving home from work, she crashed into a telephone pole and sustained multiple injuries to her face
and right shoulder.  Her blood alcohol level registered at .18, and she subsequently pled nolo
contendere to the misdemeanor offense of driving while intoxicated ("DWI").  She was fined and
placed on probation.

	Salazar sued Giorgio's for damages due to negligence, negligence per se, gross negligence,
and violating Texas Alcohol and Beverage Code section 2.02 (1) for serving alcohol to her while she
was intoxicated, which caused her injuries.  Giorgio's generally denied the allegations and raised as
affirmative defenses that Salazar's own negligence was the sole proximate cause of her injuries, the
incident was unavoidable, her exclusive remedy lay in section 2.02, and her recovery was barred
under Section 86.002(a) by her misdemeanor conviction.  The trial court granted Giorgio's summary
judgment on the ground that Section 86.002 barred Salazar's recovery.


DISCUSSION

	Section 86.002, entitled "Recovery of Damages for Injury to Convicted Person Prohibited,"
provides as follows:

	(a) A claimant who has been convicted of a felony or misdemeanor may not
recover damages for an injury sustained during the commission of the felony or
misdemeanor if the injury would not have been sustained but for the commission of
the felony or misdemeanor.


	(b) Subsection (a) does not bar the claimant from recovering damages if the
claimant shows that:


	(1) the damages arose from an act entirely separate from any act intended to
result in the:

	(A) prevention of the commission of a felony or misdemeanor by the claimant;
or

	(B) apprehension of the claimant during or immediately after the commission
of the felony or misdemeanor;  and

	(2) the damages did not arise from a premises defect or other circumstance
that the claimant was exposed to as a result of the commission of the felony or
misdemeanor. 


Tex. Civ. Prac. &amp; Rem. Code § 86.002 (Vernon Supp. 2000).

	Giorgio's argues that Salazar's claims are barred under subsection (a), because she was
convicted of a misdemeanor and her injuries were sustained during the commission of that
misdemeanor.  Salazar argues her claims are not barred because her claims fall within the exception
provided under subsection (b).  Salazar contends her injuries arose from an act entirely separate from
her misdemeanor-Giorgio's continuing to serve her alcohol even though she was clearly intoxicated,
to the extent that she presented a danger to herself and others.  Salazar also argues that the
Legislature did not intend to provide a right of recovery under the Dram Shop Act, only to take away
that right under Section 86.002(a).  Our research reveals no case law considering the interplay
between the Dram Shop Act and Section 86.002.  However, because we conclude that Section
86.002 was not designed to apply to the facts of this case, Salazar's Dram Shop Act claim is not
barred by Section 86.002.

	When paragraphs (a) and (b) of Section 86.002 are read together, as they should be, it is
apparent that the bar to recovery was intended to apply only to those criminal wrongdoers who are
injured by third parties who caused injury while attempting to prevent the commission of the crime,
or while attempting to apprehend the wrongdoer during or immediately after the commission of the
crime.  Id.  Although Salazar's injury probably would not have occurred but for her own act of
driving while intoxicated, she was not injured by someone in the course of attempting to stop her
from driving while intoxicated or attempting to apprehend her, and the damages did not arise from
a premise defect or other circumstance to which she was exposed while driving while intoxicated.
Accordingly, her claim falls within the exception to the statute.

	We reverse the trial court's judgment and remand for further proceedings consistent with this
opinion.


							Tom Rickhoff, Justice

PUBLISH
1.   "Providing, selling, or serving an alcoholic beverage may be made the basis of a statutory cause of action
under this chapter and may be made the basis of a revocation proceeding under Section 6.01(b) of this code upon proof
that: . . . (1) at the time the provision occurred it was apparent to the provider that the individual being sold, served,
or provided with an alcoholic beverage was obviously intoxicated to the extent that he presented a clear danger to
himself and others;  and . . . (2) the intoxication of the recipient of the alcoholic beverage was a proximate cause of
the damages suffered."  Tex. Alco. Bev. Code Ann. § 2.02 (Vernon 1995) ("the Dram Shop Act").


